                                                                               027,21*5$17('


                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                       ]
                                               ]
v.                                             ]    No.    3:13-cr-114
                                               ]           JUDGE SHARP
CRUZ AVENDANO                                  ]

     DEFENDANT’S MOTION TO FILE SENTENCING POSITION ONE DAY LATE

       Comes now the Defendant Cruz Avendano, by and through undersigned counsel, and

hereby moves this Honorable Court to allow him to file the attached Sentencing Position one day

late. For cause, undersigned counsel would state and show that he simply misread his calendar,

and believed, until today, that the sentencing hearing was scheduled on October 24th, 2014.

When preparing his calendar for next week, undersigned counsel realized he was wrong by one

day. Accordingly, the attached sentencing position, if accepted, would be one day late. Counsel

contacted the Assistant United States Attorney prosecuting the case, Hal McDonough. Mr.

McDonough advised he has no objection to the late filing. Counsel apologizes for the error.



                                                   Respectfully submitted,

                                                   __s/Patrick Frogge
                                                   Patrick Frogge
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